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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 19-20141-CR-KING/BECERRA

 UNITED STATES OF AMERICA,

 v.

 VICTOR ROJAS,

        Defendant.
                                       /

                             REFERRAL TO MAGISTRATE

        Upon consideration, the undersigned United States District Judge does hereby

 refer Defendant Victor Rojas’ Motion for Leave to Appeal in Forma Pauperis (D.E. #82),

 filed August 24, 2020, in the above-styled case to the Honorable Jacqueline Becerra,

 United States Magistrate Judge for the Southern District of Florida, for all such judicial

 proceedings as are permissible under the Magistrates' Act and the Rules of Court for the

 Southern District of Florida.

        DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 25 th day of August, 2020.




                                                   JAMES LAWRENCE KING
                                                   UNITED STATES DISTRICT JUDGE
 cc:    Magistrate Judge Jacqueline Becerra
        All Counsel of Record
